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10
11                       IN THE UNITED STATES DISTRICT COURT
12                               FOR THE DISTRICT OF ARIZONA
13
     United States of America,                              CR-13-1607-PHX-SRB
14
                         Plaintiff,
15                                                   RESPONSE IN SUPPORT OF
             vs.                                    DEFENDANT’S MOTIONS FOR
16                                                COMPLEX CASE DESIGNATION AND
                                                     TO EXTEND TIME TO FILE
17   Jean Baptiste Kingery,                        PRETRIAL MOTIONS, CONTINUE
                                                    TRIAL, AND VACATE STATUS
18                       Defendant.                CONFERENCE (FIRST REQUEST)
19         The United States of America, by and through undersigned counsel, hereby files
20   this response in support of JEAN BAPTISTE KINGERY’s (“defendant”) motions for
21   complex case designation and to extend time to file pretrial motions, continue trial, and
22   vacate the status conference. As defense counsel accurately represented, the government
23   concurs in defendant’s request for complex case designation and has no objection to the
24   requested continuances.
25   ///
26   ///
27   ///
28   ///
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1    Respectfully submitted this 15th day of October, 2015,
2                                      LORETTA E. LYNCH
                                       United States Attorney General
3                                      EILEEN M. DECKER
                                       United States Attorney
4                                      Central District of California
5
                                         /s/
6                                      Annamartine Salick
                                       William A. Crowfoot
7                                      Special Attorneys

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1          Defendant JEAN BAPTISTE KINGERY (“defendant”) is charged in Count One of
2    the Indictment filed on November 20, 2013 (the “Indictment”), with attempting to export
3    grenade parts and ammunition in violation of 22 U.S.C. § 2778(b)(2) and (c) (the Arms
4    Export Control Act); and 22 C.F.R. §§ 121.1, 123.1, and 127.1 (the International
5    Trafficking in Arms Regulations) (collectively, “AECA”). He is charged in Count Two
6    of the Indictment with attempting to smuggle grenade parts and ammunition from the
7    United States in violation of 18 U.S.C. § 554(a).
8          Defendant was extradited from Mexico to the United States on September 30, 2015,
9    and made his initial appearance on the Indictment in the District Court for the District of
10   Arizona, Phoenix, on October 1, 2015. After a detention hearing on October 2, 2015,
11   defendant was ordered detained and a status conference and trial date were scheduled for
12   October 19, 2015, and November 3, 2015, respectively.           The government provided
13   defendant with discovery and met with defense counsel to discuss the case.              The
14   government concurred with defense counsel’s recommendation to move the Court for a
15   complex case designation.
16          On October 6, 2015, defendant filed a motion for complex case designation and
17   accurately represented the government’s concurrence in its request. (CR 32, 2.) On
18   October 14, 2015, the government spoke with defense counsel by phone and stated that it
19   had no objection to defense counsel filing a motion to extend time to file pretrial motions,
20   continue the trial date, and vacate the status conference. That same day, defendant filed
21   this motion and accurately represented the government’s position. (CR 33, 2.)
22         The government concurs with defendant’s motion to designate the case as complex.
23   Should the Court deny this motion, the government has no objection to an extension of
24   time to file pretrial motions, a continuance of the trial, and a vacatur of the status
25   conference.
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1           Excludable delay under 18 U.S.C. §§ 3161(h)(7)(A) and (B)(ii) will occur as a
2    result of this response or from an order based thereon.
3            Respectfully submitted this 15th day of October, 2015,
4                                               LORETTA E. LYNCH
                                                United States Attorney General
5                                               EILEEN M. DECKER
                                                United States Attorney
6                                               Central District of California
7                                                 /s/
                                                Annamartine Salick
8                                               William Crowfoot
                                                Special Attorneys
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1                                CERTIFICATE OF SERVICE
2    I hereby certify that on the 15th day of October, 2015, I electronically transmitted the
     attached document to the Clerk's Office using the CM/ECF System for filing a copy to
3    the following CM/ECF registrant:
4    Greg Bartolomei
     Assistant Federal Public Defender
5    Attorney for the Defendant
6    / s/                          _
     Annamartine Salick
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